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                   EXHIBIT A
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                     SETTLEMENT AGREEMENT AND MUTUAL RELEASE

            This Settlement Agreement and Mutual Release (hereinafter "Agreement") is hereby

    entered into on this               day of November, 2017, by and between Elva Leticia Zamora

     Sian ("Plaintiff") and Tanner Investments, Ltd. and Alyssa C. Tanner ("Defendants") (Plaintiff

    and Defendants are collectively referred to herein as the "Parties"). This Agreement sets forth the

    understandings and resolutions between the Parties.

            WHEREAS, Plaintiff brought a lawsuit in the United States District Court for the Eastern

    District of Virginia, Case No. 1:16-cv-694 (LIVIB/TCB) (the "Case") for alleged violations of the

    Fair Labor Standards Act ("ELSA") 29 U.S.C. § 201, et seq„

            WHEREAS, Defendants deny and have denied any liability in this matter.

            WHEREAS, Defendants filed a Counterclaim in this action alleging that Plaintiff was

    unjustly enriched;

            WHEREAS, Plaintiff was involved in proceedings in the Fairfax County Circuit Court and

    agreed to a restitution order regarding the unjust enrichment of approximately Twenty:, .T
                               ---                                    -
    Thousand>5 Hundred                 tree Dollars and Se4-6(
                                                             ty-,-Fiv-e Cents ci$

            WHEREAS, the Parties have entered into this Agreement to resolve a good faith dispute

    as to possible entitlements under the ELSA, therefore, the Parties desire to resolve all matters and

    disputes concerning unpaid wages between them amicably so to avoid any future litigation;

            NOW THEREFORE, it is hereby agreed between Plaintiff and Defendants to fully and

    finally settle and completely dispose of all existing or potential issues, claims, grievances and
                                                                                                    41.



    disputes between them, accordingly,

            IN CONSIDERATION OF THE MUTUAL PROMISES MADE HEREIN:

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         1.      Settlement. Defendants agree to deem the entire restitution order issued by the Fairfax

     County Circuit Court fully satisfied, as full payment of Plaintiff's claims for unpaid overtime and

     minimum wages. Furthermore, Defendants agree to pay Plaintiff's attorneys fees and litigation

     costs of Five Thousand Four Hundred Seventy Dollars ($5,470.00), in full and final satisfaction of

     any and all claims, including all claims for attorneys' fees and costs, liquidated damages, and

     unpaid wages, paid as follows:

              a. Within five (5) calendar days after Court Approval, time being of the essence,

                 Defendants shall deliver one payments in immediately available funds to Eduardo S.

                 Garcia at 25 W. Middle Lane, Rockville, Maryland 20850: in the amount of Five

                 Thousand Four Hundred Seventy Dollars ($5,470.00) payable to Stein Sperling Bennett

                 De Jong Driscoll PC.

              b. Defendants further agree that they will work cooperatively with Plaintiff's counsel to

                 finalize any documentation, any communication, or any action necessary to inform the

                 Fairfax County Circuit Court that the restitution order obtained against Plaintiff has been

                 fully satisfied, including but not limited to speaking with the Commonwealth Attorneys'

                 office, Plaintiffs probation officer, and/or Fairfax County Circuit Court personnel.

         2         Default. Failure by Defendants to cooperate with Plaintiff's counsel to notify the

     Fairfax County Circuit Court that the restitution order has been satisfied, or to pay any moneys

     due on or before the date outlined in this agreement shall be default hereunder. In the event that

     the default is not cured in five (5) calendar days after notification, Plaintiff may proceed in Court

     to obtain the necessary relief. Plaintiff will also be entitled to attorneys' fees incurred, from the

     date of default, in securing the necessary relief.

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          3.      Mutual Release. For and in consideration of the Payments described above, and

     other good and valuable consideration, Plaintiff fully and forever releases, remises and discharges

     Defendants, together with its officers, directors, partners, shareholders, employees, agents,

     affiliates, corporate parents, subsidiaries, successors, heirs and assigns (collectively, the "Released

    Parties"). The Claims Plaintiff is releasing includes, all claims regarding unpaid overtime wages,

     minimum wages as well as all claims, promises, causes of action, complaints, grievances, or

     similar rights that were or could have been alleged, as well as all known and unknown claims,

    promises, causes of action, complaints, grievances or similar rights of any type that they presently

     may have ("Claims") with respect to any Released Party, including any claim for attorney's fees,

     except as provided for herein.    This is a general and complete release of all claims by Plaintiff

    and is to be construed in its broadest sense.           Plaintiff understands that the Claims she is

    releasing includes any and all claims that she might have as a result of conduct or omissions by

    any Released Party at any time up until the moment she signs this Agreement and includes claims

    under any foreign, domestic, national, state, or local laws (including statutes, regulations,

    administrative guidance, and common law doctrines) including, but not limited to, the following:

                     Employment statutes, such as the Employee Retirement Income Security Act of

                     1974; the Family and Medical Leave Act of 1993; and any other federal and/or state

                     laws relating to employment.


                     All other laws, such as any federal, state, local or common law mandating leaves

                     of absence, restricting an employer's right to terminate employees, or otherwise

                     regulating employment, any federal, state, local or common law enforcing express

                     or implied employment contracts or requiring an employer to deal with employees
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                    fairly or in good faith; any other federal, state, local or common law providing

                    recourse for alleged wrongful discharge, tort, physical or personal injury, emotional

                    distress, fraud, negligent misrepresentation, defamation, and similar or related

                    claims, and any other law, including claims alleging breach of contract or otherwise

                    brought under any contract and/or tort theory.


             Except as provided below, Defendants hereby irrevocably and unconditionally waive any

    right to damages, costs, attorneys' fees or any other monetary or other recovery regarding, and

    fully releases, all claims that they may have against Plaintiff on account of any matter, specifically

    forgiving any unpaid debts, conduct or omissicn occurring on or before the date Defendants signs

    this Agreement. To the extent that claims are not reserved below, this is a general and complete

    release of all claims by Defendants and is to be construed in its broadest sense. Defendants

    understand that the claims they are releasing include any and all claims that they might have as a

     result of conduct or omissions by Plaintiff at any time up until the moment they sign this

    Agreement and include claims under any foreign, domestic, national, state, or local laws (including

     statutes, regulations, administrative guidance, and common law doctrines).

         4      Covenant Not To Sue. Plaintiff covenants that she will not file or cause to be filed

    any future legal action in any court, administrative agency, or other forum based upon any claim

    which has been released pursuant to paragraph 3 of this Agreement ("legal action").

          5. Non Interference. Nothing in this Agreement shall interfere with Plaintiff's right to
                    -




    file a charge, cooperate, or participate in an investigation or administrative proceeding conducted

    by the EEOC or state fair employment practices agency, or other federal or state regulatory law

     enforcement agency. However, the consideration provided to Plaintiff in this Agreement will be
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    the sole relief provided to Plaintiff for her released claims, and Plaintiff will not be entitled to

    recover, and agree to waive, any monetary benefits or recovery against Defendants in connection

    with any such claim, charge, or proceeding without regard to who has brought the complaint or

    charge.

          7         No Admission. The Parties, by reason of agreeing to this compromise and

    agreement deny liability of any and every sort and state that they have made no agreement to do

    or omit to do any act or thing not set forth herein. The Parties further state that this Agreement is

    entered into as a compromise in order to avoid expense and to terminate all controversy and/or

    claims for injuries or damages of whatsoever nature, known or unknown, including further

    developments thereof, in any way growing out of or connected with the Claims.

          8.       No Assignment. Plaintiff represent that she have not assigned, transferred, or

    purported to assign or transfer, to any person Dr entity, any claim against Defendants or portion

    thereof or interest therein.

          9       Governin. Law and Interpretation. The Parties agree that this Agreement and

    the rights and obligations hereunder shall be governed by, and construed in accordance with, the

     laws of the Commonwealth of Virginia. The Parties agree that any dispute arising out of this

     Agreement shall be adjudicated solely and exclusively in the Virginia state courts. The Parties

    expressly waive any objection to jurisdiction and venue herein, including but not limited to

     personal jurisdiction and forum nonconveniens.

          10.       Severability.       The Parties agree that, if any terms of the above provisions of this

     Agreement are found null, void or inoperative, for any reason, the remaining provisions will

     remain in full force and effect.

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          11.      Entire Agreement. The Parties agree that this Agreement contains and comprises

     the entire agreement and understanding of the Parties and that there are no additional promises or

     terms of the agreement among the Parties.



          12.       Joint Participation and Negotiation of Agreement. Plaintiff represents that she

     has read this Agreement, that she understand all of its terms, that she has fully discussed the terms

     of this Agreement with an attorney of her choice, and that, in executing this Agreement, she did

     not rely and have not relied upon any representation or statement made by any of the employees,

     agents, representatives, or attorneys of Defendants with regard to the subject matter, basis, or effect

     of the Agreement. Plaintiff represent that she entered into this Agreement voluntarily, of her own

     free will, and with knowledge of its meaning and effect.

            13,       Amendment. The Parties agree that this Agreement shall not be modified except

     by a writing signed by each of the Parties hereto.

            14.     Counterpart Signatures. The Parties hereby acknowledge that this Agreement

     may be executed in counterpart originals with like effect as if executed in a single document.

     This Agreement is effective when all Parties have executed the Agreement and provided executed

     copies to all Parties hereto.




                                     (SIGNATURES ON NEXT PAGE)




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           TN WITNESS WHEREOF, the parties have executed this Agreement:

           PLAINTIFF



                                                   Dated:



           DEFENDANTS



                                                   Dated:   II
           By;
           On Behalf of Tanner Investments, Ltd,



                         C°                        Dated:
           Alys a    Tanner, Individually
